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                                                     United States District Court
                                                     Central District of California


 UNITED STATES OF AMERICA vs.                                             Docket No.            CR 14-00548-ODW

 Defendant        Michael Huynh                                           Social Security No. 3         2   6    5
 akas:    Huynh Mai, Mai Huynh                                            (Last 4 digits)

                                        JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                 MONTH   DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.   March   27    2017

  COUNSEL                                                        Stanley L Friedman, retained
                                                                         (Name of Counsel)

     PLEA         X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                            CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 1: 18:371 CONSPIRACY; Counts 2-12: 26:7206(1) SUBSCRIBING TO A FALSE INCOME TAX RETURN
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:
                  51 months on Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, and 12 of the Indictment.

This term consists of 51 months on Count 1 and 36 months on each of counts 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, and 12
of the Indictment, to be served concurrently.


The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide
all necessary treatment.


Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years.
This term consists of three years on Count 1 and one year on each of Counts 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, and 12
of the Indictment, all such terms to run concurrently under the following terms and conditions:


         1. The defendant shall comply with the rules and regulations of the United States Probation Office,
            General Order 05-02, and General Order 01-05, including the three special conditions delineated in
            General Order 01-05.


         2. The defendant shall participate in mental health treatment, which may include evaluation and
            counseling, until discharged from the treatment by the treatment provider, with the approval of the
            Probation Officer.

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         3.      As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
                 treatment to the aftercare contractors during the period of community supervision, pursuant to 18 U.S.C.
                 § 3672. The defendant shall provide payment and proof of payment as directed by the Probation Officer.


         4.      During the period of community supervision, the defendant shall pay the special assessment and
                 restitution in accordance with this judgment's orders pertaining to such payment.



         5. The defendant shall apply all monies received from income tax refunds to the outstanding Court-ordered
            financial obligation. In addition, the defendant shall apply all monies received from lottery winnings,
            inheritance, judgments and any anticipated or unexpected financial gains to the outstanding Court-
            ordered financial obligation.

         6.      The defendant shall truthfully and timely file and pay taxes owed for the years of conviction, and shall
                 truthfully and timely file and pay taxes during the period of community supervision. Further, the
                 defendant shall show proof to the Probation Officer of compliance with this order.

         7.      The defendant shall cooperate in the collection of a DNA sample from himself.

         It is ordered that the defendant shall pay to the United States a special assessment of $1,200, which is due
         immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less
         than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

         It is ordered that the defendant shall pay restitution in the total amount of $1,901,779.79 pursuant to 18
         U.S.C. § 3663A.
         The amount of restitution ordered shall be paid as follows:

         Victim                                          Amount

                        Anthem, Inc. (Private)                 $642,601.27
                        Blue Cross Blue                        $347,868.58
                        Shield (FEHBP
                        Claims)
                        Aetna (Private)                        $270,463.18
                        Blue Shield of CA                      $221,634.76
                        (Private)
                        Blue Cross Blue                        $162,325.84
                        Shield of
                        Massachusetts
                        (Private)
                        United Health Group                      $77,124.28
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                        (OptumRx)
                        CMS / Medicare                      $34,959.85
                        Great West Healthcare               $24,573.55
                        (Cigna)
                        Curtiss Wright                      $22,204.74
                        Corporation
                        EBA&M Corporation                   $22,041.55
                        Time Warner Cable                   $21,471.66
                        Alcatel-Lucent (1573)               $20,893.15
                        (Nokia)
                        EMBARQ (Century                     $10,363.70
                        Link)
                        Eaton Corporation                    $8,556.84
                        Enterprise Holdings                  $6,911.08
                        Northrop Grumman                     $4,989.49
                        Corporation
                        WCA Group Health                     $1,306.95
                        Trust (5726)
                        Boeing Company                       $1,199.73
                        Government                            $289.59
                        Employees Health
                        Association (FEHBP
                        Claims)


         The Court finds from a consideration of the record that the defendant's economic circumstances allow for
         restitution payments pursuant to the following schedule: A partial payment of $1,057,750 shall be paid
         immediately. The balance shall be due during the period of imprisonment, at the rate of not less than $25
         per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. The amount
         of restitution remaining unpaid after release from custody shall be paid within 180 days after the
         commencement of supervision.

         If the defendant makes a partial payment, each payee shall receive approximately proportional payment
         unless another priority order or percentage payment is specified in the judgment.

         The defendant shall be held jointly and severally liable with co-participant Farhad N. Dany Sharim (Docket
         No. 13-00745). The victims' recovery is limited to the amount of their loss and the defendant's liability for
         restitution ceases if and when the victims receive full restitution.

         Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant
         lacks the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant

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         to 18 U.S.C. § 3612(g).

         The defendant shall comply with General Order No. 01-05.

         Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established
         that he is unable to pay and is not likely to become able to pay any fine.

         The drug testing condition mandated by statute is suspended based on the Court's determination that the
         defendant poses a low risk of future substance abuse.

         It is further ordered that the defendant surrender himself to the institution designated by the Bureau of
         Prisons at or before 12 noon, on May 26, 2017 . In the absence of such designation, the defendant shall
         report on or before the same date and time, to the United States Marshal located at the Roybal Federal
         Building, 255 East Temple Street, Los Angeles, California 90012.



         Pursuant to 18 U.S.C. § 3553(a), the Court shall impose a sentence sufficient, but not greater than
         necessary, to comply with the purposes set forth in paragraph (2) of this subsection. The Court, in
         determining the particular sentence to be imposed, shall consider --

    1. The nature and circumstances of the offense and the history and characteristics of the defendant;
    2. The need for the sentence imposed --
          a. To reflect the seriousness of the offense; to promote respect for the law, and to provide just
              punishment for the offense;
          b. To afford adequate deterrence to criminal conduct;
          c. To protect the public from further crimes of the defendant; and
          d. To provide the defendant with needed correctional treatment in the most effective manner.
    3. The kinds of sentences available;
    4. The guideline sentencing range;
    5. The need to avoid unwarranted sentence disparities among defendants with similar records who have
       been found guilty of similar conduct; and
    6. The need to provide restitution to any victims of the offense.




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           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.




                        March 27, 2017
                        Date                                                         U. S. District Judge

           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.


                                                                                     Clerk, U.S. District Court



                        March 27, 2017                                   By          S. English /s/
                        Filed Date                                                   Deputy Clerk


           The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                        STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                         While the defendant is on probation or supervised release pursuant to this judgment:
           1.      The defendant shall not commit another Federal, state or                   10.     the defendant shall not associate with any persons engaged
                   local crime;                                                                       in criminal activity, and shall not associate with any person
           2.      the defendant shall not leave the judicial district without the                    convicted of a felony unless granted permission to do so by
                   written permission of the court or probation officer;                              the probation officer;
           3.      the defendant shall report to the probation officer as                     11.     the defendant shall permit a probation officer to visit him or
                   directed by the court or probation officer and shall submit                        her at any time at home or elsewhere and shall permit
                   a truthful and complete written report within the first five                       confiscation of any contraband observed in plain view by
                   days of each month;                                                                the probation officer;
           4.      the defendant shall answer truthfully all inquiries by the                 12.     the defendant shall notify the probation officer within 72
                   probation officer and follow the instructions of the                               hours of being arrested or questioned by a law enforcement
                   probation officer;                                                                 officer;
           5.      the defendant shall support his or her dependents and meet                 13.     the defendant shall not enter into any agreement to act as an
                   other family responsibilities;                                                     informer or a special agent of a law enforcement agency
           6.      the defendant shall work regularly at a lawful occupation                          without the permission of the court;
                   unless excused by the probation officer for schooling,                     14.     as directed by the probation officer, the defendant shall
                   training, or other acceptable reasons;                                             notify third parties of risks that may be occasioned by the
           7.      the defendant shall notify the probation officer at least 10                       defendant’s criminal record or personal history or
                   days prior to any change in residence or employment;                               characteristics, and shall permit the probation officer to
           8.      the defendant shall refrain from excessive use of alcohol                          make such notifications and to conform the defendant’s
                   and shall not purchase, possess, use, distribute, or                               compliance with such notification requirement;
                   administer any narcotic or other controlled substance, or                  15.     the defendant shall, upon release from any period of
                   any paraphernalia related to such substances, except as                            custody, report to the probation officer within 72 hours;
                   prescribed by a physician;                                                 16.     and, for felony cases only: not possess a firearm, destructive
           9.      the defendant shall not frequent places where controlled                           device, or any other dangerous weapon.
                   substances are illegally sold, used, distributed or
                   administered;


                   The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).




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                  STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                     The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine
           or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments
           may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution
           , however, are not applicable for offenses completed prior to April 24, 1996.

                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay
           the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

                    The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address
           or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

                     The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
           §3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party
           or the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3)
           and for probation 18 U.S.C. §3563(a)(7).

                      Payments shall be applied in the following order:

                                 1. Special assessments pursuant to 18 U.S.C. §3013;
                                 2. Restitution, in this sequence:
                                           Private victims (individual and corporate),
                                           Providers of compensation to private victims,
                                           The United States as victim;
                                 3. Fine;
                                 4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                                 5. Other penalties and costs.




                                      SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

                    As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
           report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
           statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not
           apply for any loan or open any line of credit without prior approval of the Probation Officer.

                   The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
           proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank
           accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.


                    The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
           without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                       These conditions are in addition to any other conditions imposed by this judgment.




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                                                                             RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                                             to
            Defendant noted on appeal on
            Defendant released on
            Mandate issued on
            Defendant’s appeal
            determined on
            Defendant delivered on                                                             to
      at
                  the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                                United States Marshal


                                                                 By
                       Date                                                     Deputy Marshal




                                                                        CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
            and in my legal custody.

                                                                                Clerk, U.S. District Court


                                                                 By
                       Filed Date                                               Deputy Clerk




                                                       FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
           term of supervision, and/or (3) modify the conditions of supervision.

                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                     (Signed)
                                Defendant                                                      Date




                                U. S. Probation Officer/Designated Witness                     Date




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